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    * * + * * * * * * * * * * * * * **                                               FILED
    JAMES-FREDERICK: GRAVELING                                                      Nov     -{   2C!5
                            Plaintiff,                                             U,S, COURT OF
                                                   No. 16-111477                  FEDERAL CLAIMS
              v.
                                                   Filed: November 4.2016
    UNITED STATES,

                            Defendant.
    * * * +*       ,1.   * * * * * * * * * * **

                                            ORDER
       On November 2,2016, the court received from pro se plaintiff James-Frederick:
Graveling a document titled:

          Reservation. Wish and Demand that All Creator Given, Constitutionally
                             Guaranteed Riqhts Be Upheld

        Verified Complaint. Petition For Redress of Grievances and petition
                             for Summarv Judqment[l]
Although the exact nature of the document is unclear, it appears to contain a number of
allegations against the United states government and several requests for relief. Along
with his filing, in what appear to be garbage bags, many of them unbound, plaintiff also
mailed to the court hundreds of pages, weighing over seventy pounds according to the
court's staff, of what he refers to as exhibits and appendices, and redacted versions of all
of these documents, although the case is not sealed.

         Plaintiff's November 2,2016 filing is forty-seven pages long with 163 footnotes
and, due to plaintiff's idiosyncratic writing style and minimal organization, is impossible to
understand. The caption of the filing lists the defendant as "The United States -herineafter
US- continqentlv standing for various parties who wronged Cl [i.e., the claimant]." After
a largely incoherent introductory section, which repeatedly references the United states
constitution, numerous passages from the Bible, and various historical documenrs,
plaintiff includes a section titled "STATEMENT OF QUESTION(S)", in which he states:

       One Key question is: will this court uphold Cl's rights and the Cx [i.e. United
       States Constitutionl by enforcing said contracts? lF SO, TO Cl's knowledge



1
  All emphasis, grammatical errors, and spelling errors are plaintiffs. Additionally, all
footnotes have been omitted.



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       there are no other questions to be answered for Cl's case, though there
       are questions that must be answered for the plight of CI's fellow Americans.

It is unclear what are the "said contracts" plaintiff references in this statement, and
throughout his filing. The closest plaintiff comes to clarifying this is a portion of the
"Relevant Facts" section of his filing, wherein he states:

       "Cl is a beneficiary of the contract entered by America's fathers and the
       People of the united States of America, a contract Cl never signed, but is
       inherently spoken of and for as one of "the people" the 9th and 1Oth AMDTs
       mention. Said Cx contract must be enforced perthe supremacy clause and
       God's 8th Law."

ln a footnote plaintiff defines "God's 8th Law" as "Genesis 16:5; I Samuel 24:12t1; Psalm
2 with Acts 13 et al." The rest of plaintiffs "Relevant Facts" involve statements about the
Constitution, religious law, plaintiffs taxes, and the gold standard. Plaintiffs filing
proceeds to list 35 "Counts" against the United States, which fall into three types of
allegations. Plaintiffs first set of allegations, to the best the court can determine, appear
to relate to the abrogation of gold clauses in government and private contracts and/or the
abandonment of the gold standard by the United States. For instance, plaintiff states:

       Rs violated Cl's rights, e.g. 1) to gscoin circulation (with resulting injures:
       e.g. Congress' usurping powers; loss of separate Art. lll courts paid in gold,
       independent oflnot serving Federal Reserve bankers (FED) or Congress
       but the people); SAL 48 took Cl's God given riqht to "Dealings in, and loans
       on, gold" . . . infringing all of Cl's rights (per CX Requires), violating Decl's
       "all men are created equal", treating Cl (a Christian and heir to Abraham's
       liberty) as an involuntary slave . . . .

Plaintiff similarly alleges that the united states "made war on the constitution" when it
"circumvented" what plaintiff alleges was the United states constitution's "demands that
only gscoin be used as tender in payment of debts." plaintiff next appears to allege
that his united States citizenship has harmed him, stating that the united states nas
"willfully coerced" plaintiff into "us citizenship and the like- (via agreements) that cl
neither consented to nor intended to" and that by doing so the government "violated cl's
right to self-determination, a direct result of which was that his reputation suffered
greatly." Finally, plaintiff appears to challenge the legality of th- government's
assessment of federal income taxes against him, stating that the United states "came
against cl without verified authorization a) of assessment for alleged taxes and b) for
alleged "change" from refunds . . . in violation of the cx, America's laws, and contracts."

       The allegations in plaintiffs November 2, 2016 filings are so confused and lacking
in specific detail that they cannot be understood as alleging cognizable causes of action
against the United states, regardless of how liberal an interpretation they are given.
Additionally, the court feels compelled to note that, the united states constitution is not,
as plaintiff argues, a contract, nor has he alleged the existence of any other conlract that
would entitle him to relief. Further, the mere existence of plaintiffs united states
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Citizenship, in and of itself, does not give rise to a cause of action against the government.
To the extent that plaintiffs filing can be understood as seeking recovery based on the
abrogation of gold clauses, this issue has been settled legally for decades. See, e.q.,
Perrv v. United States, 294 U.S. 330 (1935) (holding that plaintiffs lacked a cause of action
based on the government's abrogation of gold clauses in government bonds). Similarly,
any dispute over the Federal Government's power to impose an income tax was settled
by the Sixteenth Amendment to the United States Constitution, which was adopted in
1913. Therefore plaintiffs November 2,2016 filing is DISMISSED as frivolous.

        Additionally, the court orders that the hundreds of pages of appendices, exhibits,
and redacted documents that were submitted along with plaintiffs November 2, 2016 filing
be returned to plaintiff UNFILED. The documents are double-sided, such that text from
one side is clearly visible on the other side, single spaced, and inconsistently bound, in
violation of Rules of the Court of Federal Claims, 5.5(cX1XC), 5.5(cX4), and 5.5(cX4).
These deficiencies would result in a substantial burden on the clerks' office should they
be required to file plaintiff's documents in a situation in which the filing Rules of the court
have been violated and there is no coherent, cognizable case.

       Although the above-captioned case has been filed and given a case number, it is,
hereby, DISMISSED. The Clerk's Office should enter JUDGMENT consistent with this
oroer.

       IT IS SO ORDERED.


                                                           MARIAN BLANK HORN
                                                                  Judge
